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           t   to shore up Kadisha's own Qualcornm holdings. (TE 153, 157, 158, see item No. 504, "Payoff
          Z
               of first mortgage loan $505,000" and item No. 505, "interest 11!11 to 12118 $3,839.56;" TE 158;

               164, 166, 167, 1 S2, 1776.)
          4
                       Kadisha the:eafter used the Trusts as a veritable piggy bank for over $5 million in
          5
         ^a    unsecured, undocumented loans to himself, his real estate partnership (Dan.irtvestments }, and his

               friends. ('1'E 44, 44A; 164-156, 157, 173, 254, 255, 257, 258, 271, 272, 303, 304, 332, 333, 357,
          s
               364-366, 509, 510, 513. S 14, 518, S 19, 560, 573, 574, 576, 580, 760, 1719x, 3409.) in 1992,
          9
               Kadisha improperly sold Trust 2's QualcorYUn stock to raise cash for his own use. He used Trust
         ^o
         i!    funds to help fund a real estate purchase by the Carson '93 partnershi p while he was a

         t^    shareholder, president and CEO of the general partner Texollini. And, after this lawsuit was

         13
               commenced, Kadisha improperly withdrew $500,000 from the Trusts to pay for his lega] fees.
         t^a
               The fact that Kadisha topk half a million dollars far his own use from the Trusts without any
         is
               authorizupg provision in the u,>,si instruments demonstrates his attitude that the Trusts existed for
         t5

         t^    his benefit rather than for the benefit of the beneficiaries.

         IB            In fact, a]though the evidence shows numerous (egregious) instances in which Kadisha
         !9
               used Trust assets or his position as Trustee for his own benefit, there is no evidence of any
        20
               instances in which Kadisha acted in the bene, f^ciaries' interests. in short, Kadisha. did precisely
        2t
               the opposite of what^ihe duty of loyalty compelled him to do. Rather than administering the trust
        22

        z3     and dealing with the trust assets solely for the interest of the beneficiaries, he administered the

 k      za     trust and dealt with the trust assets solely,#ar his own benefit.
        zs
               111
        26
               111
        z^

        2e
               111


                                                      STATFi^tENT OF t)P,C4S[ON

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                             t.^^^                                                   ^^ .

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          1                    2.     Kadisha is Eherefore not en#itled to be excused from liability on equitable

         2
                                      COASlderatlOrl3.
         3
                       Probate Cade § 16440(b) permits a court , in its discretion, to excuse s trustee from
         4

               Liability for a breach of trust if it would be equitable to do so. 'i'bis is not a case in which the
         s
         s     trustee is entitled to equitable consideration, e.g., a case where awell-intentioned trttstee made, a

               good-faith error in judgment. This is a case where the Trustee -throughout his tenure as Trustee
         8
               -consistently breached virtually every fiduciary duty he had and intentionally took advantage of
         9
               the beneficiaries' youth, inexperience and lack of education to use the Tnlst assets a^ his
        ^io

        t ['   personal piggy bank. The equities in [his case must.l ie with Kadisha's victims. in other words,

        Iz     the rule that a trustee must disgorge any profit, gain, benefit or advantage he has acquired

        13
               through his dealings with the trust assets or his position as trustee must be rigorously applied and
        14
               al! doubts resolved in Petitioners' favor.
        15
                               3.
        Is
        n                             has committed a breach of trust must Etisgor^.e any profit derived from

        I8                            the breach.
        19
                       As previously noted, in California,.as elsewhere, "ta) "(aj faithless trustee must disgarg^
        24
               to his principal the secret pmfrts and unauthorized benefits and advantages fire has.acquired as
        st
               an outgrowth of the agency. "' Terry v. Bender (1955 2"d Dist.) 143 Cal.App.2d i 98, 212, 300 P
        zz
        23     2d 119, 328; People v. Vallerga (1977 tad Dist.) 67 Cal.App.3d 847, 877, l36 Cal.ltptr. 429,

        24     446. Nicke! v. Bank ofAmerica (2002) 2901=.3d 1134, reflects the law in Califamia that a trusic
        zs
               who has committed a breach of trust must disgorge any profit derived from the breach, since the
        26
               profit properly belongs to the trust and its beneficiaries.
        27

        26



                                                            STATEMENT OF DLCLSIOIV

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                                       r'-.^^l                               ^^.s

         t               hr Nickel, the trustee bank breached its fidEteiary obligations by overcharging 2,500 trust
         2
                 for its trustee's fees. After discovering the error, the successor trustee bank repaid the fees with

                 i^rlterest . The trial court found that this was a sufficient remedy, and that the profits that would
         4

                 have accrued to the 2,500 trusts was speculative because the overcharges could not be traced in1
         s

         6       any particular loans or investments of the bank. The Ninth Circuit Court of Appeal reversed

         7              The Court of Appeal began its analysis with the "elementary rule of restitution" that "if
         a
                 you take my money and make money with it, .your profit belongs to me," citing §I of the
         9
                 Restatement of Restitution. Nickel v. Bank of America supra, 290 F.3d at 1 I38. This
        to

        tl       "elementary rule" reflects the broad purpose of restitution and the maxim of jurispnldence in

        12       California that "[n^o one can take advantage of his own wrung." Martin v. Kehl {1983)145

        13
                 Cai.App.3d 228, 237; Civil Code §3517.                                                             ^,
        r4
                        Section l of the Restatemem of Restitution states the general rule that "Ea) person who
        IS
                 has been unjustly enriched at the expense of another is required to make restitution la the other.'
        16

        IT       The Restatement also recognizes, however, that im the context of a fiduciary relationship, the

        ^a       unjust enrichment need not fie at the beneficiary's expense. That is, "where a person in a
        19
                 fiduciary relation to another makes a proFt in connection with transactions comducxed by him as
        zo
                 a fiduciary, he is ordinarily accountable to his beneficiary for the profit, although the benefieiar
        x1
                 suffered no loss." Restatement of Restitution § 1, comment a (I937).
        zz
             r
        23              The Restatement also explains: "A person is enriched if he has received a benefit." `"1fi

 k      24   ^ word "benefit"...demotes any form of advantage." .And, "a person is unjustly enriched if the
        2S
                 retention of the benefit {i.e., retention of any form of advantage) would be unjust." Resuuement
        zb
                 of Restitution § 1, comments a and b { I937). A trustee whn prufi is through "any form of
        2^
        za


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          I                                                                                                                  ,I
                   advantage" derived froirz the fzduc 'iary relationship or the trust estate is unjustly enriched
          2
               i because the profit belongs to the trust . The trustee mast therefore disgorge the profit.
          3
                           The prunciple is codified in the California Pmbate Code . Probate Code § 160134 imposes a
         '4
                   duty on a trustee rrvt to use or deal with trust property for the trustee ' s own profit . "A violation
          5

          ^.   i by the trustee of any duty that the trustee owes the beneficiary is a breach of trust " Probate

          7        Code § 1640(?. Thus, if a trustee uses or deals with trust property for the trustee's own benefit, he
          8
                   has committed a breach of trust . 1f the trustee derives a profit from the breach of trust. he is
          9
                   liable far that profit , i.e., he is required to disgorge it. Probate Code §15440 (ax2}.
         ^io

         u'
               j           The Nicke! Court concluded that because money is `fungible;' the bank did benefit from

         12        retaining the overcharges:

         13                        "The money misappropriated from the mistsadded directly to what
         I4                        the banks -had to loan or to invest or, if not directly loaned or
                                   invesked, was used to meet expenses , freeing an equal amount for
         is                        loan or investment." Id at 1139.

         16                'The overcharges, which were the product of the trustee's breach of fiduciary duties, thus
         17
               'caused an addition to profit in either case . Id. at 113$.
         za
                           The Court of Appeal concluded that the bank 's repayment of the overcharges with simple
         19

         zo        interest to the 2,513Q trusts was not a sufficient remedy because it did not "give the trusts an

         2^        amount close to equaling a share in the profits made with their money." Id. at 1139. ]t found
         2z
                   instead that the appropriate remedy was "to allot these unwitting and unwilling contributors a
         2J
                   proportionate share of the banks' profits during the years of misappmpriation :" Id. at I i39:
         24

                           The Cauri 's decision thus reflects the principle that a trustee who profits through "any
         zs
         26        form of advantage " derived from the trust assets ar the trustee 's position is unjustly enriched, ,

         z^        and must disgorge the profits . The trustee in Nickel benefited because the misappropriated
         28
                   overcharges added to the capital it had available for investment, and therefore added to the

                                                          STATEMENT DP bECtSION

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          l    trustee's profit dtuing the period of tnisappropriation regardless of whether the overcharges
          z
               directly or indirectly produt:ecl the addition to profit. In either case, the trustee was unjustly
          3
               i enriched-and was required to disgorge the portion of the profit attributable to the use of the
          a
               trusts' funds during the period of rrtisappropriatian.
          s

          6                      4. The trustee in Nickel profited from asin2 the misatsbropriated

                                      overchary es in its basiness because it had the beneCt of the use of rnone,Y
        •• 8
                                      ii_wotrld Rot have had if it had not breached its iiduciary duties.
          9
                       The trustee in Nickel benefited each tune it made a transaction with its own funds rather
        to

        11
               ^ than repaying the misappropriated overcharges because so long as it retained possession of the

        i2     overcharges rather than repaying them, they added to the totaE capital that was available to the

        13
               bank for investment.
        I4
                       1n addition to breaching the fiduciary duty not to^deal with trust property for his own
        is
               profit (Prob. Code § 16010, a trustee why fails to repay a trust for misappropriated funds also
         16

        t^     breaches other fiduciary duties, i.e.: (1) the duty io take and keep control of and preserve the

        is     frost property (Probate Code § 16007}, (2) the duty Eo make the trust property productive "in
        t9
               ^ furtherance of the prrrpose of the trust," (3) the duty to keep the irusi's properly separate from
        zo
               i trustee's property (Prob. Code § 16009, (4) the duty to enforce the oust"s claims -including
        2t
               claims against himself For money the trustee has misappropriated from the trust (Prob. Code
        22

        23     §16010), (S) the duty not to take part in any transaction in which the trustee has an interest

 F      24     adverse to the beneficiary (Prob. Code §1ti004( a), and {b) the duty to place the beneficiaries'
        zs
               interests ahead of his own (Heckman v. Ahmanson (1985} 168 Cal.App.3d 1 l9, 12b: [The
        26
               tnistce cannot "serve himself First and Iris cestttis [beneficiaries] second." He cannot alaandan
        za

        zs     fiduciary role "for personal aggrandizement ," Id. at p. 129.



                                                       STATEMENT OF` AECISIUN                                       ^^

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                                                                              LJ


          i            The Nickel Court required the trustee to disgorge the profst.earned in such eircuntstances
          2
               by giviag the beneficiaries a proportionate share. of the tmstee's profits during the period in
          3
               which ilre trustee retained and had the use of the misappropriated and fungible overcharges. As
          4
               is shown below, the Nickel remedy is an appropriate equitable remedy as it gives the
          S

          6    beneficiaries the benefit of the use of thcir funds, and it gives the trustee the benefit of the use o1

          7    his funds.
          a
                               S, NiciceE's remedy of giving the beneficiaries a share of the profits earned
          9
                                   durine the ueri«i of misappropriation is eminent]Y epeti^abie.
        io
         II`           Nickel awarded the plaintiff beneficiaries a prnportianate share^of the trustee 's profits

         Iz,   during the period of misappiapriation. It thus gave the beneficiaries the benefit of the use of

         13
               their rnaney, and it gave the trustee the benefit of the use of his money during the period of
         14
               misappropriatian.
         15
                       As will be discussed in more detail later in t#ris brief, Petitioners are seeking the Nickel
         i6

        1^     remedy on several of their claims - a proportionate share of Kadisha's profits during the period

         is    of misappropriation - i.e., a proportionate share of his Quaic:orrun stock. Contrary to what
        i9
               Kadisha claims, this remedy does not give Petitioners something that does not belong to them.
        zo
                              6. An award of interest is nvt a sufficlent remedy for the trustee's trse of the
        21
                                   fUndS,
                                   trYrSt
        22

        23             An award of interest is not a sufficient remedy far the trustee's use of the tnrst funds. li

        24     is insufFcient because it allows, the trustee to reta 'u2 a gain chat was achieved from dealing with
        2s
               the trust for his own benefit. If' a trustee did not have to disgorge this gain , there would be an
        26
               enorrrrous incentive for him to use mist funds for his own investments. (Por one thing, it would
        27

        28     be easier tv dip into trust funds that the trustee wholly controls than to qualify for a bank loan for



                                                         STA'r`EM^IV'f OF DECISION                               ^ - ^

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                                  c^                                                                                   ^..^
           i   the trustee's speculative investments.) Providing that kind of incentive, however, runts contrary
          2
               to the fundamental purpose of the trust law, which is to "put fiduciaries beyond the reach of
          3
               temptation by making it profitable far them to yield to it."
          4

               Maclsaac v. Poz^o (1943) 8i Cai.App.2d 278.
          5

          6           interest is also an insufficient remedy because it does not give the beneficiaries, who are

               unknowing and unwitting lenders, a ret^lm for the risk.
          a
                      Kadisha's track record of losing hundreds of millions of dollars ttndersco"res the
          9
               enormous risk that was forced upon Petitioners in this^case. (TE i430.I-1930. 11) it appears
         10

         11
               from Kadisha's frequent applications to the Count for living expenses that virtually the only

         12    substantial successful investment Kadisha has made has been Qualcomm. Had QuaIcomm gone ^,

         i3
               the way of a multitude of other dot corns, Petitioners would have had no recourse against
         14
               Kadisha because of the failure of his other investments. Since they were forced to unwittingly
         IS
               share in [he risk of Kadisha's investment decisions. they are also entitled to share in the benefits,
         Ib

         17    including the benefits of the Qualcomm stock purchase.

         la                   7. Kadisha incorrec#Iv contends that tracing the trustee 's >prof^t to actual

         19
                                   trust dollars is necessary #o esta6iish Wa# the trustee profited from tract
         2i)
                              '    85sets.
         21
                      Tracing was laid to rest as the exclusive remedy for the unlawfitl taking and use of trust
         za
         23    assets by a trustee by Nickel v. Bank ofAmerica (2002) 290 F.3d 1134. Nickel brought about a

         24    much needed equitable change. A change like Nickel invites a fury of attack by packs of
         2s
               perennially misanthrophic malcontents. They Cannot be missed. Their number is legion. They
         26
               arc everywhere, eyes wild, Fangs barred -fiercely incensed by the mere nation of anything that
         z^

         zs    •resembles change. The objectors have for the most part gone away--but not Kadisha. iE is he,



                                                                   STATSNiENT OF DECISION

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                                                                             l^^


          3    the arctti[ed of canceahnent and camouflaged accountings that look io the tracing doctrine as his
         z
               salvation. And while the court is not going to reach out and order a taking of 1^adisha's                ^
         3                                                                                                              i
               Qualeomm stock, opting instead to award damages as was done in Nickel, a discxrssion of                  ^
         a
               "tracing" is in order as it is a course of action available to the cowl which has been taonsidered
         5

         6     but not requisite to awarding monetary damages to Petitioners.             ^                             ^

         7             Kadisha incorrectly and throughout the trial steadfastly maintains that directly tracing the
         tt
               trustee's personal profit to actual trust dollars. is necessary to establish that the trustee profited
         4
               from trust assets . This is tantamount to saying: (3) that causation requires tracing; and (2) that
        Ito

        t t'   the only possible way a trustee can benefit from the .trust assets or his position as trustee is where

        t7^    he uses actual trust dollars for a personal investment. Kadisha has not, however, offered a single i

        13     authority that supports his position - nor are there any. In fact, the only decision that directly
        ra
               •diseusses this point -Nickel v. Bank of flmerica (2402) 290 F.3d l 134•, 1138 - says precisely the
        is
               opposite, that tinder California taw, "[t]raceability and causation are not the same." Emphasis          ^
        Ib

        rr added.                                                 ^                                                     i

        I8             The Court of Appeal in Nickef specifically fotutd that the trial court erreJ "un reading a
        19
               requirement of traceability into a tortfeasor's obligation to make whole its victims."
        20
               Nickel v. Bank of America, suprb, 290 F.3d at l I38. In other words, the trial rourt.erred because'
        2t
               it required the plain[iffs to trace the path of the overcharges into particular loans ar investments
        z2
        23     of the bank. The Court of Appeal stated pointedly: "A requirement of traceability nullifies the

        24     bank tortfeasor's obligation to cough up the profits i[ has made by the trse of what it has
        25
               •wrongfully taken:' Id.
        zs
                       The Court reasoned:                                                                              ^
        z^
        za                       "Traceability and causation are not the same. If the bank had taken
                                 the overcharges and thrown the money out the window, there

                                                      STATEMENT OF DSCtStON

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                                  would be na causation, and, if the banks could prove they had done
                                  this, the plaintiff would lose:' fd
          z

          3           IQ other words , if the bank had tlJrown the overcharges out the window, it would not have

          4   received a benefit from them. However, because money is 'fungible," the bank did receive a
          5
               benefit from the overcharges:
          6
                                  "The money misappropriated firm the trusts added directly to what
          7                       the banks had to Ioan or to invest or, if nat directly loaned or
          s
                                  invested, was used to meet expenses , freeing as ec;usl amount for
                                  Ioan or investment." 1'd. at 1139.
          9
                      The overcharges , which were the product of the trustee's breach of fiduciary duties, thus
        to                                                          ,

         I]   caused an addition to profit in either case. Id at 113 $. Nrcke! says, in other words, that adding

         Jz   the misappropriated funds to the Wstee's own funds caused the trustee's additional profii,

        13
              because the trustee either had additional funds to directly investor it had additional furxls io pay
        to
              its expenses - which freed up an equal amount for investment.
        35
                      Nickel also says that because money is fungible, requiring beneficiaries to trace the profit
        t6

        I7    to actual trust doiIars would allow the trustee to escape liability for the profit earned by indirectly

        la    using the beneficiaries ' money. If a trustee uses misappropriated funds to buy groceries, he
        19
              benefits because he can invest the ftusds he would otherwise have had to spend for groceries.
        20
              Because money is fungible, however . there is no demonstrable connection between a dollar that
        zl
              ' is used to buy groceries and another dollar that is thereby freed up and can be invested . Showing
        22

        23    which dollar actually produced {i.e., caused ) the profit is therefore not possible il^ this context.

        24    Nickel therefore correctly concludes that tracing is not an element of causation.
        25
              ///
        26
              ///
        27
              ^^^
        28



                                                       5l'ATFMENT OR DECISION

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                                  (.,l                                         -^


          t                       8. Kadisha 's Incorrect [armulatfon vi the Iaw also contradicts the
          2

          3
                                     tYvm the trust estate or his nvsltlon as trustee.
          a
                      Kadisha's incorrect formulation of the law also contradicts the "inveterate and unbending
          s
          s    rule" Thai a trustee cannot gain arty advantage from the use of trust assets or his position a5

          7    Wstee. His incorrect formulation of the law can be summed up in the following propositions:
          8
                                         (1} if a trustee uses $I,OOp of trust funds for his personal investments, the
          9
                                            trustee is liable to the trust's beneficiaries for the trustee's profit.
        ^f 0

         ]I'
                                            According to Kadisha, this is because the trustee 's profit can be

         I2^                                directly traced to trust funds.

         13
                                         (2) However. if a ilrustee uses $ I,(?fJ0 of trust funds to pay his obligations
         is
                                            and thereby frees ug $ 1,000 of his own funds for investment, the
         IS
                                             trustee is not liable to the beneficiaries for the trustee's profit from that
         t6

         t^                                  $1,000. According to Kadisha , this is because the profrt can be

         Is                                  "traced away" to the trustee's separatefunds ("Tracing away" is a
         14
                                             term invented by Kadisha -- it does not appear in any decision by any
        za
                                             California court.;
        z1
                      Kadisha's incnrrect formulation of the law contradicts the rule that a trustee bzraches his
        2z
        23     fiduciary duties when lte gains any odvanlage from the trust assets or his position as trustee. In

        24     both of the above scenarios, the trustee has an additional $I,000 far his own investments that he
        25
               would not have had if he had not breached his fiduciary duties. And, under both scenarios, the
        26
               trustee would earn the same profit on that $1,000. The trustee would therefore beReftr equally
        27

        2s     under either scenario. Nonetheless, Kadisha claims that tracing (and what he terms "tracing



                                                       STATEMENT of nECES[(DN

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                               ^J                                               ^^

          1   away") dictates that the trustee is liable for the ttustee's profit under the fast scenario, attd the
          2
              trustee is not liable for his proFt under the second.
          3
                      ICadisha utterly disregards the express holding of 1+Jickel, the rule in California that "(aj
          4

              aithless trustee must disgorge to his principal the secret profits and unauthorized benefits and
          s

          6   advantages he has acquirer! as an nutgrowrh of the agency, "rZ and the equitable principle that

          7   "no one can take advantage of his own wrong" because it allows trustees to use trust assets for
          8
              their own benefit so long as the benefit is indirect. Kadisha's scheme also violates the
          9
              fundamental rule that a party cannot do indirectly what it cannot do directly. See. e.g„ Civ, Code
         to

         tl
              §3511: "Where the reason is the wine, the rule should be the same."

         i2           Nonetheless, a trustee would escape liability under 1Cadisha's formulation of the Iaw by

         13
              doing the following: (I) openly depositing trust funds into an account in his own name, (2) using
         14
              the trusE funds in that account to pay far his living expenses and debts, (3}funding his personal
         15
              investments from a different account contaiuaing the money the trustee saved by using trust funds
         !b

         !7   instead of his own, funds to pay his expenses and debts; and (4}'using the bank statements frarn

         I$   each of these accounts to "trace away," i.e., to prove that he used trust dollars only for his
         19
              personal expenses -which did not produce a profit W and that only his own dollars were used far
         2Q
              the personal investments that did pnxlut^ a profit.
         2i
                      Kadisha's faulty reasoning would act as an incentive for wrongdoing by making 'tt
         22

         23   prafrtable for trustees to breach their fiduciary duties - il; direct contradiction tq the public

  R      24   policy of putting trustees beyond temptation "by making it unprofitable for them to yield to it."
         25
              MacJsaac v, Pozza, supra, 81 Cal.App.Zd at 285.
         zs
              1/I
         z7
         za
              ^ Terry v. 8endcr {1956 Z'd Dist.) 143 Cat.A.pp.2d 198, 212, 30p P.2d 114,128; People v, Vatterga {19']'7 2°d Dist.)
              67 Cs1.App.3d 847, 877, i 36 CaI.IZptr.429, 446.
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                                  i.-.^                                                   ^,^


          1                       9. The lunt^uaae of the California Probate Code also onttfirms that fracinE l
          z
                                          not a rectuiretnent for causation.
          3
                         The language of the California Probate Code also confirms that tracutg is not a
          4
               requirement of causation.
          s
          s              Probate Code §I6440. which codiftes a trustee's liability far a breach of trust, provides

               (among other things) that "if the trustee commits a breach of trust ," he is chargeable with (among
          s
               other things) "any protit made by the trustee through the breach of tt'trst, with interest ." Probate
          4
               Code § I644(l{a}. It does Trot provide that if the ttvsiee corrtnnits a breach of trust, he is only
         to
         tl^   chargeable with a profit "that can be traced to actual tttrst dollars: ' The Legislature did not, in

         1^    other words, place the stringent limitation Kadisha proposes on the trustee's liability.

         t3
                         The actual issue regarding causation can be seen by applying the applicable standard of
         14
               proof of Probate Code §I5440. The standard of proof in a breach of ftduciary duty case is
         i5
               preponderance of the evidence - i.e., more likely than not. Evidence Code § l 15.. Applying this
         16

         t^    standard io Probate Code § I644O the relevant questions are thus: (I) whether ii is more likely

         to    than not that the trustee breached his fiduciary duties {duty, breach); (2) whether it is more likely
         19
               than not that the trustee profited from the breach of trust {causation); and {3) what is the ttustee's
         zo
               profit (damages) 2s
         2t
                         The fact that tracing is not a requirement for causation can also be confirmed by refetrirtg
         22

         23    to Probate Cade § I642O, which lists the remedies for a breach of trust and includes tracing as a

         24

         25

         26
               ^ ^ These are a!1 questions of fact for the Court and its deterrninatians Carr be overturned on appeal only if tlxrc is no
         27      substantial evidence that supports them. Bowers v Berrwrd ( 1984) tSp Cal.App3d 870, B73 [T]he power of an
                 appellate court begins and ends with the determination as to whether, on the entire record, there is substantia!
         28    :evidence, contradicted ar uncontradicted , which will support the dctenninatinr>, and when two or more inferences
                 can reasonably be deduced from the facts, a reviewing court is without power to substitute its deductions for thane of
                 the trial court ." Emphasis in original.]
                                                             STATBMF.NT OF D }?ClStO[Y

                                                                             9G




                                                             t:..ht'l^r4E i ..._N_._...    ^^._...^_......_ .. ..


                                                            *',z^sF
                                                             _^ ^^                        ^_.^
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                             '^..                                                `^.




                                    ^:^                                     {^
          t     remedy (one of many), not an element of liability (which causation is). Probate Code
          z
                §1fi420(a)(9).             .
          3
                                    1t1. Efron v. Kalmonoyitz does not hold, as Kadisha elaims, that traeln^ is an
          4

          s
                                       element oicausation.

          6            Kadisha relies upon Efron v. Kalmanovitz (19b7) ZA9 Cal,App.2d 1&7 for his mistaken

                theory that causation reclttires tracing. Kadisha incorrectly contends that Efron demonstrates that
          a
                "fungibility" and "freeing up assets" are not enoug^t to show causation and that it is therefore
          9
                necessary io show that actual trust dollars were used to purchase an asset (i.e., strict tracing) to
         to                                                             .

         ^t
                establish causation. (Respondent's Reply Memorandum in Support of His Motion for ]udgrrrent

         tz     on Petitioners' Claims Regarding Respondent's Qualcornrrr Stock, 5:1 &22)

         !3
                        Efron did not, however, deal with the issues of "fungibility" or "freeing up assets" since
         !4
                the misappropriated assets in chat case were not fungible assets. Nor did i[ state or imply that
         IS
                tracing is an element of causation, as Kadisha has been contending. When it talked about tracing
         tb

         t^     at all, it talked about it only in Ehe context of the appropriate remedy to be applied, not as an

         to     element of liability.
         19
                        In Efron, S 8t P Corporation ('.`SBt.I?"} was awned by Kalmonovitz , who was also the
         xa .
                majority shareholder of the Maier Brewing Company ("Maier" ). S&P was a real estate
         2t
                investment company, and Maier was a brewery. Kalruonovitz breached his fiduciary duties to
         zz
         23     the minority shareholders in acquiring Mater's assets . Kalmonovitz continued to tun the brew

  A      Z4     after the fraudulent sale but the evidence at trial left substantial doubts .that the brewery was
         Z5
                profitable. Nevertheless, the trial court impressed a consUuctive trust on the real property
         26
                purchased by SAP after the Maier acquisition. Tire Court of Appeal reversed. It concluded,
         27

         za     essentially, that [here was no evidence that 1Calmonovitz actually received any bencFrt from the



                                                        STATEM^I^i7' OF DECLSION

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                                  t/                                             ^-J


           t    Maier assets, and it remanded the case back to the trial court for further findings to deteralitte
           z
                whether Kalmonovitx earned a profit or cash surplus from the Maier assets and whether he used
           3
                that profit or cash surplus in some way to acquire the properties.
           4
                       in other words, the trial court had failed to make any findings that there was a causal
           5

           6    connection between the brewery assets and S&P's real estate acquisitions. Because the brewery

           7    assets Kaimonovitz improperly acquired were fungible, the causal connection between those
           8
                assets and SDP's real estate acquisitions had to be established en a different way than it can be
           9
                established in a case involving fungible cash. Adding the non-Fungible brewery equipment to
         ^Io

          11'
                Kahnonovit^' holdings did rtot have the same economic impact that adding fungible cash da his

          17^   holdings would have had because the assets by themselves did not add to the store of capital that
          l3
                was available to Kalmonovitz for investment. The issue in Nickel and the issue in this case (with
          Id
                aspect to Petitioners' claun regarding Kadisha's t7lraloonun stock acquisition) involves the
          15
                economic effect of fungible cash on the store of capital that the trustee has available for
          16

          t7    investment. Efro,7, does not address that fact situation and is therefore distinguishable and

          18    inapplicable.
          19
                       Efron is also distinguishable because the fiduciary was a diredor rather tban a trustee. A
         zo
                trustee has additional statutory duties . For example, a trustee has statutory duties to marshal,
         21
                control and preserve the trust property and to pursue claims held by the [rust, even if it involves a
         z2

         23     claim against the trustee . The trustee bank in Nickel and Kadisha were therefore duty bound to

         24     restore the funds they misappropriated to the trusts . By breaching this 5duciary duty, they each '^
         25
                benefited because they had cash for investment that they would clot have had if theyhad repaid
         26
                the rightful owners For the misappropriated funds . Kadisha and the Nickel trustee thus gained an
         27

         zs     improper -- and disgorgeable benefit - by breaching a duty that Kalmonovitz did not have.



                                                      STATEMENT OF DECb510N

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                                   ^^


          t                       II. The disaors;ement of an advantage, benefit, ^airr or profit^obtained
          2
                                      through a. breach of fiduciary duty may be aecompliisbed by irnt^osinsr a
          3
                                      constructive frost on the advanfa ¢exbenefrt, Bain or profit. , .
          4
                          There are numerous (nonexclusive} remedies to redress a trustee's breach of trtlst,
          S

          6       including payment of money, imposition of a constructive trust . and tracing. Prob. Code

                  §15420(a)(3x$)(9). ('Notably , the imposition of a constructive trust and tracing are listed as
          s
                  separa[c raemedies . Their intentional separation strongly argues against Kadisha's other theory
          9
                  that all constructive trusts require strict tracing.)
         Io

         11
                          The Restatement of Restitution (upon which Kadisha relies) provides, however. that if a

         Iz       fiduciary has made a profit through violating a fiduciary duty, he can be compelled to surrender

         I3
                  the proftt through the remedy of a constructive trust. Restatement of Restitution §160, comment
         14
                  d (1937).
         15
                          California law is in accord:
         t6

         I7                       Where trustees have acquired property by virtue of a breach of
                                  their fiduciary duty of loyalty to a beneficiary, the latter may
         Is                       proceed against them personally to recover damages for the fraud
                                  ar may charge them as canstructive trustee of the property for his
         19
                                  awn benefit as rightful owner.                               -
         zo
              ^           Kenny v. Citizens Nat. 7ntst & Savings Bank of Los Angeles, supra 259 P.2d at 452.
         zl
                          This rule is codified in Civil Code §2224 which states : "One who gains a thing by ...the
         zz
         23   ^ violation of a trust. _ - is, unless he or she has some other and better right-thereto, an involuntary

         z4   'trustee of the thing gained , for the benefit of the person who would otherwise have had it ." Civil
         25
              'Code §2224 is part bf the "comprehensive legislative design to inhibit the temptation of a trustee
         zb
                  to use his Fiduciary position for personal gain: ' Kenny v Citizens Nat. Trust & Savings Bank of
         z7
         28       Los Angeles, supra, 269 P.2d at 450.



                                                          STATEMENT OF DEC15tON

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.               1                     ^                                             O
          t                Probate Cade § 16420(a){$) is another part of thislegislative scheme. Xt pmvides that if a
          2
                    trustee commits a breach of trust, a benefici ary ma y (among other remedies} oorrurrence an
          3
                    action tQ impose a constructive trust an trust property. A profit, bereft, or gain acquired by a
          4
          S         trustee through a breach of Wst indisputably belongs to the tryst acrd is therefore trust property.

          6         Purdy v. Johnson, supra, ^ lb3 1'.2d at p. 897 [any advantage or profit rxeived by the trustee

          ^         through a breach of trust "is deemed in law to belong to Ehe beneficiaries."j As trust property, a
          8
                    trustee's illicit profit is subjecE to a constructive trust under Probate Code § Y 64Z0(a){$), See, for
          4
                    example, Heckman v. Ahmanson {1985) 168 Ca1.App.3d at 123 [plaintiff shareholders entitled to
         ^ro
         1 t^       a constructive frost an greerunail profits earned through a breach of fiduciary datyj; Bank of

         ITy        America National Trust & SavingsAss'n. v. Ryan (1962) 207 Ca1.App.2d b98, 705.

         13
                                      X2. The essence of the constructive trust remetiv is to prevent t<rxiust
         i4
                                           enrichment and to prevent a person from fakirs advantage of his or her
         r5
                                           own wrondoirs^..
         16

         t7                 "The essence of the theory of cvnstrirctive trust is to prevent unjust enrichment and to

         is         prevent a person from taking advantage of his or her own wrongdoing:" Martin v. 1^eh1(1983)
         t9
                    145 CaLApp.3d 228, 237.
         sa
                           Martin v. Kehl also noted Thai the only conditions necessary to create a constructive trust
         zr
         ^ are.set forth in Civil Code §2223 (which states: "{ojne who wrongfully detains a thing is an

         23         involuntary trustee thereof, for the benefit of the owner" and §2224 (which states ["ojne who

         24         gains a thing by...the violation of a.trust, is, unless he has some other and better right thereto, an

         25
                    involuntary trustee of the thing gained. far the benefit of the person who would otherwise have
         26
                    had it."} Martin v. Kehl, supra, 14S Ca1.App.3d at p. 237. I^iotably, the "Daly conditions" for
         27

         ze         creating a constructive trust do not mention "tracing."



                                                              STATEMENT OP DECtStON

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                                 t ^                                        t`^


          1              Moreover "[i]n order to provide the necessary flexibilityto apply an equitabledactrine to
          2
               individual cases, these sections state general principles for a court's guidance rather than
          3
              restrictive rules." • Id at page Z37. Thus:
          a
                                 it has.been pointed out that a constructive trust may be imposed in
          5
                                 practically any case where there is a wrongfill acquisition or
          b                      detention of property to which another is entitled.

          7              Id. at p. 238.
          e
                         In other words, "[a]ll that must be shown is that the acquisition of the property was
          4
               wrongful and that the keeping of the property by the defendant would constitute unjust
         to
         11    enrichment." Calistaga Civic Club v. City of Calistoga (1983) 143 Cal.App.3d 111, 116.

         tz              Where a trustee acquires property by an advantage gained from the trust assets ar his

         13
               position as trustee, the acquisition is wrongful {as it is the result of the trustee's breach of duty)
         14
               and the keeping of4he property, which rightfully belongs to the trust, constitutes unjust                 i
         is
              enrichment. 'Therefore, where a trustee acquires property by an advantage gained from the tnsst
         16
                                                                                                                        I
         17    assets or his position as trustee, the beneficiaries are entitled to•the remedy of a constructive         i

         18   I trust.
         19
                         13.     Kadlsha >:ained numerous advantages fr•oln tlle_"administratian of the trust,
         zo
                                 deal'enE with trust propertyLor the trustee's relation to the [rest estate," and
         21
                                 ire is therefore liable for and must disaorEe hIs prol=lis.
         zz

         23                               a.    Kadlsha benefits from the rrse of Trust assets in 1988 through

  1^     24                                     1989.
         zs

         26
                         ICadisha benefited from the use of Trust assets during 1988 and 1989 by, among other
         z^
         zx ^ things:


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                                  ^^^^
                                   .,.                                      `^y^
           I                  •   Misappropriating the $500,000 Namco Loan proceeds for his own use,
           z
                              •   Defaulting on the Nameo Loan and buying Qualcornm stock for himself instead
           9
                                  of repaying Trust 2 for the misappropriated Namco Loan pmoeeds,
           a

          5                   •   L.earg@tta                                       u Comm o gs tPad of

          b
                                  r                         ^ 1'l^Psa .
          7
                              •   Using Trust assets to secure an unnecessary $2 million loan to raise cash for Ttv:
           e
                                  2 to loan Qualcotnm $300,QOU tan an extremely risky loam t                         '
          9
                                  S
         ^It1

         !I'                  •   Selling the Strathmore Residence, misappropriating the proceeds and loanittg

         t 2,
                                  $1,250,000 to Stadca, a corporation in which Kadisha, Parviz and You>aes had a
         13
                                  substantial investment, and which had guaranteed Otnttirtet's Sanwa loans;
         14
                              •   Converting the risky $3(10,000 note to an even riskier equity investment to help
         Is

         !6                       Qualcomm, and

         17                   •   Misappropriating from the Trust to pay baclt the $390,000 money that his family
         18
                                  and friends advanced that he used to meet his obligations in the 1948 Qualcomin
         19
                                  stock acquisition.


         2t

         z2              money available Is not credible.

         23
                         Kadisha's claims that he had other ritoney available to him at the tithe of the Qualcomm
         24
                 stock purchase are hat credible . Although he testified that he transferred 8750,000 from an
         2s
                 offshore account to his Independence $ ank account on July 1988, this is unbelievable {RT 89,
         25

         27     ^ 1©-B-OZ).
         28



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                                  `J^                                      '•


                          Tellingly, Kadisha did not produce at trial a copy of the account statement showing the
          z
               purported transfer. >,rlstead, he called Farviz Semsar {"Serrlsar"), a former Independence Bank,
          3
               employee who testified, incredibly, that he remembered receiving the transfer - same 15 years
          d
               ago from among the 340 accounts (including 50 Night net worth accounts} he was handling at t}ti
          s
          b    time. (RT 15, 2-23-04 , RT 21, 2-23-04.) Sernsar also testified that Kadisha deposite^t the

          7    overseas proceeds into certificates of deposit that remained at Independence Bank as of
          s
               September 1988 . (RT 17-19, 2-23-04.)
          9
                          !n addition to being incredible, Semsar's testimony is wntradicted by the documentary
         to
         Il
               evidence. Kadisha's January Z7 , 1988 financial statement (i'E 35) reflects "cash overseas" of

         12    $ti50,000. The October 24, 1988 financial statement that Kadisha submitted to Imperial Bank

         13
               (far purposes of the Imperial l..aart) does not mention either an Independence Bank account or
         to
               the purported certificates of deposit - and reflects overseas deposits of $600,000 . (TE 139.} Thus
         75
               if Kadisha liad $650,000 in overseas cash on January 27, 1988, and still had overseas cash of
         36

         i7    $600,000 on October 24, 1988, he did not transfer $750,D00 as he and Semsar testified ss

         18                                                                                         a

         t4
                          indicator of his linanciia ! condition -- and tlte^, are not^We actions of a man with a
         zo
                          surplus of cash.                                 ,
         2i
                          Kadisha's actions at the time of the Qtialcomm stock transaction are a mare reliable
         z2

         23    indicator of his financial condition --and they were not the actions of a man with a stupllls of

  F      2-0   cash. The evidence shows that Kadisha was, in fact , short of cash and could not have completed
         25
               the Qualcorrtm stack purchase if he had repaid Trust 2 the $428,000 he owed it, l~ar example:
         z6^
         z^
         za
               u St;^                                                      ^s.^yn,..,, of ^..r '             trial
               test __.
                                   _
                                                       STATEMENT 4t? DECISION                                        '

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                        ': ^_.



                            !^
                                                                                           S^
                                                                                           t^
                            ^\1




          1    •   As of January 27, 3988, Kadisha had only $84,000 in cash in the United States. Kadisha
          2
                   never produced any evidence as to how much moneyhe had in the Ututed States as of
          3
                   August 8, 1988, and the Court infers from that, that the evidence would have been
          4

          s
                   favorable of Kadisha, (T8 35,}

          6    •   He had $400,Ob0 tied up in a Ioan to Stadco. (TE 35.)
          7
               •   He paid exorbitant points and interest on the Namco Loam - 3 points and 1396 on a 4-
          8
                   month loan. (TE 63.)              ^                                                         .
          9

               •   He used the entire $500,000 of the Namco Loan proceeds for his personal needs within
         is

         il^       three weeks. (TE 68, T6.}                                                                       .

         12
               •   On August I, 1988, Kadisha was in default on the Namco Loan. {TE 97) On August 8,
         13
                   1988, when he entered info the Qualcomm stock purchase, Kadisha had not made the Jul}
         la
                   I or August I payments on the Narnco l..oan. (TE 65c.)
         35

         16    •   Kadisha did not pay the tuition for izzet's and Joelle's schooling that was due by the end

         t7        of June. (TE 61, TE 22, p. 1.)
         38
               •   For several months in 1988, Kadisha did not pay Dafrta the $20,OOD a month she was
         14
                   entitled to under the terms of Trust 2. {TE 22.}
         20

         21    •   in the Spring of 1988, Ominei was bankrupt and in danger of losing the rights to the

         zx        technology that formed its core business. (TE I776}

         23
               •   Kadisha (alone of his partners} engineered his participation in the Broadway
         2a
                   loan/Qualcomm deal so that he ended up with $39{1,000 in cash which he used to fund
         25
                   $136,000 of a $750,00(1 loan he was required to make as part of the deal. {The fact that
         26

         27        Kadisha took out yet another Ioan shows that he needed additional cosh on the very drty

         28        of the Qualcornin stock purchase.}


                                                         STATEMENT of DECISION

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                                                                       `^.. _ ^



                                                                    i^
                          V

           t   •   Kadisha did not produce an August 1988. bank statement for his Wells Fargo account at
           2
                   trial (although ]ac did produce his Union Bank account statement -for August 1988} to
           3
                   show what his balance was on August 8A, 1988 after his purported deposit of the
          4

          5
                   $39i1,Q00 he received from friends and family. His failure to produce the statement raise:

          6        the inference that the $390,000 Kadisha eked out of the transaction represented

                   substantially a91 of the foods in the account and that Kadisha could nor have both repaid .
           8
                   Trust 2 for misappropriated Namco Loan proceeds and come up with $136 ,004 to meet
          9
                   his obligations in the Quaicomm stock purchase.
         i0

          li   •   Kadisha was unable to repay the Namco Loan when it was due 2l days after the

          IZ       Qualcomm stock purchase , or when he received a strong warning memo from Hugo
          13
                   DeCastro on August 30, 19$8, or when he used Trust 2's funds rather than his own to
         14
                   repay the Namca Loan in December 1988.
          is

          16
               •   In May 1988, when Kadisha , Parviz Kazarian and Younes Nazerian agreed to purchase

          i7       the interests of Raminfar and Shoohed , partners in Omnin , Kadisha stated. "...we

          IS       certainly had rlo cash to spare." (^ 1776}.
          I4
               •   Kadisha (alone of his partners) engineered his participation in the Broadway            .
         za
                   loanlQlialcomm deal so that he ended up with $390 ,004 in cash ; which he useed to fund
         2i

         2z        $13ti,000 of a $754,000 loan he was required to make as part of the deal. (The fact that

         23        Kadisha took out yet another loan shows that lle needed additional cash on the very day
  w      24
                   of the Qualcornm stock gtlrchase.^
         2s
               •   Kadisha did not produce his August 1988 Wells Fargo Bank arraunt statement (although
         26
                   he did produce his Union $ank account statement for August 1988 ) to show his balance
         z7

         28        on August 8-9, 1988 after his purported deposit of the $390 ,000 he received from friends


                                                 STATEMENT OF DECISION

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                                        ^ ^ r.
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                                rJ
                         and family . His failure to produce the statement raises the islfercnce that the $390,000
          z
                         Kadisha eked out of the transaction represented substantially all of the funds in the
          3
                         account and that Kadisha could not have both repaid Trust 2 for misappropriated Namea
          4
                         Loan proceeds . and come up with $136,000 to meet his.obligations in the Qvaloanutt
          5

          5              StOC1C purchase.                                                  .

          7
                     •   Kadisha was unable to repay the Namco Laan when it was due 21 days after the
          s
                         Qualcomm stock purchase , or when he received a strong warning memo from DeCastro
         .4
                         an August 30, 1988, yr when he used Trust 2's funds rather than his own to repay the
         is
         11'             Namco Loan in December t 988.

         tz,         •   In December 198$, Kadisha did not have money of his own to loan to Qualcornm when
         13
                         Qualcornsn needed money, and he had Trust 2 loan Qualcomm $300,OOC1.
         t4
                     All of these actions speak volumes about Kadisha's cash shortage at the time of the
         is
               Qtsalwtrtrrl stock purchase . Kadisha benefited from continuing to hold Trust 2's $42$,000 at the
         16

         t7    tune of the Qualeomm stock purchase because the Tess;'s money evade up for Kadisha's cash

         Is    shortage. (Kadisha had 542$,0(]0 more than he would have had if he had repaid Trust 2 far the
         19
               misappropriated funds because repaying Trust 2 would have reduced his available cash by
                                                                                                                     i
         zo
               $42$,000.) Moreover, his actions demonstrate that he wind not have both repaid Tnsst 2 for the
        zl
                                                                                                                     i
        u      nt:isagpsnpriated Namco Loan proceeds , as his fiduciary duties reQuired hurl to do before

        23     pursuing his own interests , and fund his S 136,000 obligation in the QuaIcornm stock purchase.

        24

         25
               /ll
         Z6
               111
         27

         26    ^/E




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                                                                                ~^ ,..^




                              ^,^                                         `.^



          i            Kadislea benefited I'rarn the Use of Trust assets when he loaned ^valoomm ^3aQ.004
          2
                       of Trust 2's money in an extremely rlsk^r investment in order to shore up his own
          3
                       Oualcomm holdia^s,
          4
                   The financial interests of Kadisha and his wife's family were tied to the success of Omninet.
          5

          6    Omninet had a contract.with Qualoomm under which Onminet produced Omnitracs, a satellite

          7    communications system. {7'B 1776, Elths. A&$.) The contract provided that if Omninet
          8
               defaulted on its performance, ownership of the Omnib'acs technology would go to QuaIcomm.
          4
               Kadisha believed that a default on the contract and Ioss of Omnitracs technology would have
         Ia
         I1    been the "death knell" for Ornninet. (TE 16, 1753, 1754, I7S5, I77b, p. I9 $2, 3, and I5.}

         12        In the I;all of 1987, Omninet was in dire financial straits. Its attempts to raise equity capi[aI

         I3
               were unsuccessful. 13y April 1988, it was insolvent and the sharchaIders were deadlocked as to
         t4
               Chow to raise additional capital . Kadisha, who was on the Board of Directors, recommended that
         Is
               it file for bankruptcy. In ]une 1988, Qualcomm sued Ornninet for defaulting on the contract. In
          fi

         t7    a last-ditch effort to save Omninet, Kadisha negotiated a sale of Onntinet to Qualconun.

         Ia        Qualcomm was in equally dire straits - it was losing money and had only $200,000 in cash.
         t9
               In August 1988, Kadisha, Parviz and Younes agreed to purchase 3,156,400 shares of Quaicomm
         20
               stack at $1 per share, loan Qualcomm $750,110(1 and guarantee certain other obligations to
         2!
               Qualcotnm. This enabled Qualcomm W pay $4 million to purchase On^ninet's assets. including
         ^z

         27    the Omnitracs technology.       .

  k      24        The'OtnnineE acquision fwtlter weakened Qualcomm's finances. In November 1988,
         25
               .Kadisha (who was now a Qualoomm director} knew that Qualcomm was consistently losing
         z6
               money and needed additional funding to survive. Kadisha was strapped for cash himself and did
         z7

         28    not have funds to loan to Qualcomm. He had already expended all of the Namco Loan proceeds



                                                      S'f'ATEMBtd'T t)F DECt510N

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                                                                 _. __ .
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                               t                                                          ^`




                                   ^f



            t   far his own use and defaulted on the Namco Loan. Therefore, on November 23. 1988, Kadisha
           2
                signed an agreement committing Trust Z to loan Qualcomm $300,000, Trust 2 at the time of [ltc
           3
                signing did not have a single dime to make the $300 ,OOD loan since Kadisha had atready stripped
           4

                the Trust of its only cash (i.e_, the proceeds of Nampo Loan}. Only on December 7, 1988, after
           s

           6    Kadisha used Dafna's home (the Stralhmare Residence) as security for a totally unnecessary

           7    $Z',OOO,U00 loan from Imperial 13ank, did Kadisha have the money to have Trust 2 make the
           a
                $300,000 loan to Qualcomm.                                            ^
           9
                       There can be no doubt that Kadisha knew that Qualcomm was troubled financially and
          i4

          tl
                that it was a very risky loan. in Kadisha's own words:                            '

          12                         "I was one of the investors who signed the Stock Purchase
                                     Agreement with Qualcamm, and l in fact purchased in excess of
          t3
                                     660,000 shares for my own account pursuant to that Agreement. I
          to                       . consider myself to be a knowledgeable investor. In my apiniao,
                                     Qualcamm was an extremely risky investment. Ai that time, it
          15                         had no proven products, and Omninet Corporation had been its
                                     major, dominant customer; Qualcomm was privately held, so that
          is
                                     there was no secondary market for Qualcornm' s shares; and
          t^                         Qualcomm's financial statements, attached to the Stock Purchase
                                     Agreement, showed that Qualcomm had consistently lost money
          !8                         "sndeed, it had lost over $3.6 million in the fast ten months of Fscal
                                      1988: '
          14
                        And:
          24
                                    ",The Court should recognize that we did not simply step out of
          21                        Omninet and into a lucrative investment with Qualcomni. Quite
                                    the contrary is true. I have been a director of Qualoomm since
          z2
                                    my Initial investmer^ # pursuatct #o the Stack Purchase
          23                        Agreement in August I988. Far over three years, Qualcomm's
                                    very survival was questionable. During that time, Qualcan^un's
  R
          24                        losses continued to mount, and I considered my entire investment
                                    to be a substantial risk of loss."  '
         . xs

          26           Tellingly, Kadisha never advised Dafna of the $300,000 loan. (RT 76, 1-21-03.) Nor

          27    he seek DeCastro's advice about the propriety of the loan or his obvious conflicts of interest.
          2s
                The $300,000 loan violated DeCastro's advice to Kadisha that: {1) a trustee cannot receive even

                                                          STA^'EMStYI' l71? DECtStON

                                                                           gas


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                            4u^                                             ^^

          t   incidental benefits in connection with trust transactions, {2} a trustee must avoid actual or
          2
              potential conflicts of economic interest with the Trust or its beneficiaries, (3) a trustee must keep
          3
              the mast beneficiaries reasonably informed about the trust's activities, (4) prior tp taking any
          4
              controversial or uncertain action, Kadisha should seek court approval; and {S) Kadisha should
          s

          s   seek legal advise and, where appropriate, petition the court for instructions if there were any

              questions regarding the propriety^of a particular act finder Kadisha's l'tduciary obligations as a
          6
              tnistee. (TE 322.}
          9
                     `The loan was exceedingly risky and was not a loan that any reasonable trustee would
         ro
         tt , have made; the loan violated the terms of the Tntst; Qualrnmin was losing money; Kadisha's

         12   own Qualcomm iaivestments were at risk, and he loaned Trust 2's money to Qualconnrn to shore

         ]3
              up his own Qualeomm holdings and to fulfill his duties as a Qualcomm director to raise money.
         14
                     The only conclusion that care be drawn from the evidence is that the loan was made for
         15
              Kadisha's benefit, since it is evident that the loan was not made for Dafna's !>enefit, and Kadisha i
         I6

         i7   was the only other person who stood to benefit from the loan. Kadisha's loan of $300,000 to .

         18   Qualcomm was made for one purpose only - to help protect Kadisha's interests which were
         19
              vitally connected to Qualcomm's continuing viability. This was a corifiicted situation where
         20
              Kadisha acted to obtain necessary cash for Qualcorrun, leaving Trust 2 with a long shot chat
         zt
                     out shadow anything offered at Santa Anita.
         zz

         23                               FARAHNXI^ TIME LINE

         24     .lanuary 11. 19$8:     The trust instniments are execaited.
         zs
                February $, 1488:      Kadisha draws down $85,000 from his Union Bank line of Credit
         26                            and deposits it into his personal Union Bank aecouti#.

         27
                February 8, 1988:      Kadisha deposits $3,000 into his persona! Union Bank Account.
         2a


                                                             srn^^r osz flECrsron
                                                                      loo

                                        ,_. ;^; , ^^,; .i.            h


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                                                                                           ..
                                {:^                                           ^.^
          ^             Kadisha used trust assets to acquire 30,000 shares of Qualcomm stock from Faraluiik
          2
                {Which has nothing to do with Farahnik's original purchase thereof by money other than from
          3
                either Trust I ar 2).
          4
         'S
                        One of the principal claims of Petitioner Dafna, Uzyel zelates to Kadisha loaning money

          ^     to Farahnik-which he used to buy Qualcorrznt stock-and to subseggent forgiveness by Kadish

          7     of the loan money due him in exchange far receiving 30,000 shares of Qualcomm stork. The
          s
                Petitionereoniends the two transactions between Kadisha and Farahnilc resulted in damages to
          9
                Petitioner because Trust 2'S money was used by Kadisha to (1) make the original loans to
         ro                       ^                                       .
         t ^ ^ Farahnik by which he was able tv purchase the subject shares of Qualconzttt stock , and (2) the

         tz     second claim of Petitioner Daftra Uzyel that Kadisha used some of Trust 2's money to acquire

         is 1   the subject shaves of Quaicvmm stock is valid . The fast claim is nod
         to
                        While PetitionerDafna Uxyei would have it in respect to the first claim that Kadisha had
         is
                his eye on .Trust 2's probable assets at the time he loaned Farahnik the 576,000 on March 24,
         16

         17     1988 and $70,0(}0 on Apri15, I988, such contention is without proof, falling into the legal

         is     junkyard of speculation.                                      .

         19             The second claim is valid.
         za
                        Kadisha loaned Farahnik a tote! of $ 221,000. (The $7,000 and the $76,000 loans tatalinl
         zi

         22     $151 ,000) were fended by Kadisha's Union $ank line of credit advance-which was repaid witl

         2s     Trust 2's funds when Kadisha misappropriated the $500 ,000 Namco loan proceeds (the property
                                                                                        ^^ Il w

         24     of Trust 2) for his own use. The court fords beyond any doubt the acquisition of the subject

         25
                30,004 shares of Qualcamm was enabled by Kadisha embezzlement of practically all the subject

                Narctco loan proceeds. The damages are detailed subsequently under the Damages sec[ion.




                                                         SrATEMF.H'r OF a^CtSION

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                                       r "'^
                                                                               ^_^


          t'               DAMAGES
          2
                           "Equitable relief is flexible and expanding, and the theory that `for every wrong there is a
          3                                                                     '
               remedy' {CC 3523) may be snvolced by equity courts to justify the invention of new methods of
          4

          5    relief for new types of wrongs" (See Witkin, 9`^ Ed. Vol. Y 1, Equity #3, pg. 681). ,8y

          b    classification, this case falls within the jurisdiction of the probate court which can fashion an

          ^    equitable remedy against a trustee who has breached his lawful duties to the beneficiaries and

               caused them damages or the right to a constructive trust of assets acqu'u'ed by frost money.
          g
                           Kadisha's reliance on certain terms of mist agreements as escape hatches to relieve
         to                                                             ^ ,
         11    himself of his numerous derelictions as trustee and damages resulting therefrom is, as stated

         I2    elsewhere in this opinion, totally lacking in merit as the trust agreements are the product of fraud
         is
               by the respondent.
         I4                                    '
                      Respondent contends that Petitioners Have not presented any "damage model" upon
         f5                 '
               which the Court can calculate damages. Although it is unclear what Respondent means by a
         I6

         I7    "damage model," the evidence, case law and common sense provide an adequate basis for

         I8    calculating Petitioners' damages. Respondent's azgument is also belied by the fact Shat

         Ig    Respondent presented his own formulas for calculating damages, in the event the Court awarded
         2Q            •
               them.
         21
                           "Where the fact of damages is certain, the amount of damages need not be calculated
         2z

         23    with absolute certainty." (Emphasis in original ; GHKAssociates v. Mayer Group, Inc. (2"d

  ^^     24    District 1990) 24 CaLApp.3d $S6, 873, citing Channel[ t: Anthony {1976) 58 Cal.App.3d Z90,
         zs                                                                                                      '
               371, and Noble v. Tweedy (1949) 9Q Cal.App.2d 73$, 745.746 [203 P.2d 778]) "The larv
         26
               requires only that some reasonable basis of computation of damages be usedtiand the
         27

         28    damages may be comvuted even if the result reached is an approximation:' (Emphasis



                                                        STATEMF.N'[' OF DECISION

                                                                    lt2




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                              ^^                                         ^J
          1     added, Id. At p. 874, citingAllen v Gardner{1954) 126 Ca1.App.2d 335, 340.) ."'I`i^s ta
                                                                                                     ts
          z
                estsecially true where ...it is the wrongful acts of the defendant that have created the
          3
                ditl'icalty in provlnz' the amount of1oss of prolrts ...or where it is the wroneftll acts of the
          4
                defendant that have caused the other party to not realize a ^protit to which that partv is
          s

          b     entitled ." (Emphases added; Id. Citing Rarrwrur Manor Convalescent Nospltal v. Care

          7     J'nterprlses (1986} 177 Ca1.App.3d 1120, 1140;'Maien v. Jackson (1956) 141 Ca1.App.2d 6, 12
          B
                and dames v Herbert (1957} 149 Cal.App.2d 741, 749.} The selection of which treasure of
          9
                damages io appiy is within the sound discrztion of the trier of fact. {id.) The measure that most
         io
         li ^
                appropriately compensates the injured party for the loss sustained should be adopted. Strebel v.

         t2     Brenlrxr Investments Inc. {2006) 13S Cai.App.4's 74^, 749.

         13
                       Furthermore, this is a court of equity and:
         14
                               "The object of equity is to da right an'd justice. It 'does not wait
         is                    upon precedent which exactly squares with the facts in
                               controversy, but will assert itself in those situations where right
         t6
                               and justice would be defeated but for its intervention.' ' lt has
         f7                    always been the pride of courts of equity thaCthey will so mold and
                               adjust ilteir du^rees as to award substantial justice according to the
         la                    requirements of the varying complications that.rnay be presented to
                               them for adjudication.' [Citations oulitted.] 'The powers of a
         t9
                               court of equity, dealing with the subject-matters within its
         20                    jurisdiction, are not cribbed^or confined by the rigid rules of law.
                               From the very nature of equity, a wide play is left tti the conscience
         2t                    of the chanceiior in forrltulating his decrees. It is the very essence
                               of equity that its powers should be so broad as to be capable of
         z2
                               dealing with novel conditions.' [Citation orrlitted.] Equity acts `in
         23                    order to meet the requirements of every case, and to satisfy tht:
                               needs of a progressive social wnditian, in which new primary
         2a                    rights and duties are constantly arising, and new kinds of wrongs
                                are constantly committed.' [Citation omitted.]"
         25

         26     Toscana v. Greer+ Music {2004) 124 Ca1.App.4's 685, 693'-694.
         27
                       The Court has been cognizant of these principles in arriving at its damages award on the
         z8
                following claims.

                                                     STA'rBMEM' OF DECISION

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                                                                       ^^
          t          The Court is using the date of September I8, 200U as the date for determining Petitioners'
          2
              damages on certain of their claims . This was the last day upon which Kadisha turned over Trust
          3
              assets to Petitioners . Therefore, the assets were under Kadisha's control and subject to his
          4

              fiduciary duties until September 18, 2000.
          s
          6          During trial , Kadisha attempted to introduce evidence about what happened to the assets

              once Petitioners regained control of them . The Court ruled that such evidence was irrelevant.
          8
              Kadisha's argument in support of introducing the evidence was. in substance, that PeEitioacrs
          9
              should have done something after he turned over .the assets to them to mitigate, For example, the
         w
         tl
              $10 million loss Petitioners suffered when he stood idly by while the value o€ Trust 1's

         I2   Qualcomrn stock pIurnrneted. Jn other words , Kadisha is looking to Petitioners as if they have a

         t3
              fiduciary duty to him to cure his intentiana[ breaches of duty. This is another of Kadisha's
         14
              attempts to blame the victim and the Court rejects it. Kadisha had control of t]^e assets until
         t5
              September 18, 2000, they were subject to his fiduciary duties until then, and that is the date the
         16

         t^   f Court is using to calculate dama`g^^^^,u^-+.n ^
                                        Sc e-
         Ia                     Damages: Re $3Q{l,©00 loAn to Qualcomm from Trust 2.
         19
                     Since ii is evident that the loan was not made for Dafna's benefit , and that Kadisha was
         20
              the orily other person who stood to benefit from the loan , the only conclusion that can be drawn
         2t
              is that Kadisha made the loan far his own benefit ; Qualcomm was losing money; Kadisha's own
         22

         23   Qualcomrsi s investments were at risk, and he Ioaned Trus € 2's money to Qualcomm to aid

         24   Qualcamm , which in turn would improve his holdings of Qualcomm stock.
         25
                     Kadisha is incorrect when he argues that he should be excused from liability because of
         26
              the high rate of return canned by the $30 (},040 Ivan [o Qualcomm The loan was an extremely
         27

         2s   bad gamble by Kadisha and violated every investnnent rule for trustees in the book - But Kadisha



                                                   5TA7"£hiLNT OtT RECISION

                                                              Ito
                                           .. .
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                                                                                         L^


                'got lucky and the gamble paid off. Naturally , Kadisha expects to be rewarded. and all his
          2
                     derelictions excused because of one lucky bet, but such is not the case. Otherwise, trustees
          3
                     would be given license to steal millions of dollars but be excused by some lucky bet. No such
          a
                .license is issued by any decision.
          5

          6                 ]n fact, the opposite is true. Probate Code section 16440 gives . courts discretion^to excuse

                j a trustee from liability only where the trustee has acted reasonably and in good faith, and it
          s
                     would be equitable to excuse the trustee 's liability. Tn fact, Kadisha iaztenlianalTy set out to take
          9
                     advantage of Dafna's inexperience and Pack of sophistication to gain control over the trust assets
         ^4

         I1 ^        so that he could use ahem for his own benefit . Subjecting Dafaa and her children to such

         Iz          extreme risk in a conflicted transaction to laan^Qualcornm $300,000 made purely to protect his

         13
                     nwn investment - when Kadisha knew that Dafna was utterly incapable of replenishing the Trust
                I'
         ld
                ^ principal if this risky investment failed -was neither reasonable nor in good faith . Kadisha
         15
                     never stopped to consider the weIfaze of Dafna and her children . He was solely interested in his
         36

         t7          own financial welfare, and there is no evidencx of any instances in which Kadisha acted in the

         IS          beneficiaries ' interests. There is no evidence that Kadisha acted roasonably and in good faith.
         19
                             Nor did Kadisha provide any financial analysis to show how Tttlst 2's $300,000 loan to
         2Q
                     Quaioonun would actually wntribute to generating the required monthly distributions.
         zt
                     Qualcornm was a private company and losing more money than it was able to make or raise from
         zz
         z3          investors . There was thus no perforltiance or financial data from which to project what the future

         24          value of Trust 2's $300,000 loan would be and therefore how it would enable Trust 2 to make
         2s
                     $20,000 monthly distributions to Dafna . In fact, because Kadisha agreed to defer interest on the
         2b
                     loan to help Qualcomm , Trust 2's ability to generate the monthly distributions was reduced by
         z^
                     the $300,000 loan, not enhanced.
         28



                                                               STATEMENT OF DEC1sION

                                                                                   IIS

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                                                        ^^` n ^^ C^
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                                                                           .'^...._




                             (J .                            .          ^^


          t          Kadisha also incaneclly contends [hat Qualcolnm did no[ need Trust 2's maney because
          2
              it could raise a!1 of the cash it needed, and that Kadisha did not. therefore benefit from Trust 2's
          3
              loan to Qualeomm. The evidence. is exactly the ogpasite - Qualcomm was losing honey, it
          4
              needed additional working capital that it could not raise , and ii needed Trust 2's $304,004.
          s

          6          Enterislg into the $300,000 loan transaction wish Tnlst 2, which provided the beneficial

          7   right to acqu'u^e 37,500 shares of Qualcomrn stock at $8 per share, is one indication that
          B
              Qualcotnm was nad wallowing in cash, as suggested by Kadisha, particularly since QuaIcottun
          9
              made repayment of the loan afive-year obligation with deferred interest.
         ]0

         tl          A5 well, at the time of Trust 2's loan on December 7, 1988, Qualcomm's liabilities

         12   (including its payroll and short-term payables) exceeded its available cash by millions of dollars.'i

         la
              Qualcotnm was consistently losing money. its financial position had been further weakened by
         14
              the Omninet transaction. On the date of Trust Z's laan, December 7, 1988, Qualcamm's August
         IS                                                                                                           i'
              20, 1988 "Series A" offering had not raised all of the money Qualcomm needed. in fact, the
         16

         tT   evidence was that as of December 1988, Qualcomm had raised only $300,000 in addition to

         18   Trust 2's loan. lrl February 1989, Qualcomm amended its "Series A" PPM. The emended PPM
         19
              disclosed that a substantial portion of the money that had ultimately been raised came from
         2D
              affcers and directors, nut unaffiliated third parties. It also admit#ed that there was no assurance
         zl
              that Qualcornm would be able to raise all of the fnancing it needed.
         zz

         23          Kadisha, as a director, was intimately familiar with these facts. The evidence of

         24   Qualcomm's financial conditions shows shat the $300,000 loan was so risky that no faithful
         25
              tnrstee would have made it. The evidence amply supports the inference that Trust 2's $3(10,004
         26
              contribution was looked for aid by Qualcomm in its financial dilemma.
         2T

         28



                                                   STATEMENT Ole DECISION

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                                 `^.




                                       { ...J                                      ^ ^.J

_         I
                ^          Petitioners were not required to show precisely what Qualcomm did with Trust 2's

          z
                    money, as Kadisha contends . Since money is fungible, it would have bean impossible for
          3
                    Petitioners to determine precisely how Qualconun used their $300,000. lE is abundantly clear,
          4
                'however, that Qualcomm needed additional cash to survive, In each of its FPM's between
          S

          d         August 20 , 1988 and August 24, 1989, Qualcomnn ooosistenUy indicated that even if it raised the

          7         money sought , it would need more money, and it was uncertain whether it would be able to raise
          s
                    enough money to continue operating. The evidence is thus clear that Qualconun was struggling
          4
                    to survive, that it needed more money, that Kadisha knew it needed mole money to survive, and,
         to

         tl ^
                    that during this period he loaned it $300,000 of Trust 2's money. Moreover, Petitioners are

         iz'        aided by the presumption of Pmbate Code section 1G004 (e). They established that Kadisha

         13
                    breached his Fiduciary duties by making the $300,0001oan for his awn benefit . The burden then
         14
                    shifted to Kadisha to show that he did not benefit fmm the loan. Kadisha failed to meet this
         Is
                Iburden.
         Ib
         I^                Kadisha incorrectly contends that the loan was a permissible exercise of his fiduciary

         IB         duties because only a small percentage of the Trust's principal was at risk. Kadisha is wrong.
         Is
                    The loan was a conflicted transaction Thai breached his fiduciary duties regardless of whether it
         zo
                    involved IO^o or 100 °!0 of the value of the Trust assets . Moreover, Kadisha also misappropriated
         zl
                    the rest of the Imperial Loan proceeds for ht 's own use so the $300 ,000 loan was Trust 2's only
         2z
         z3         documented asset (other than the now heavily mortgaged Strathmore Residence).

         za                Kadisha ' s claim that he is entitled to the protection of the conflict of interest provision in
         zs
                    the Trust is equally Far fetched The Cvurt finds that the conflict of interest provision, and
         zs
                    others, are unconscionable as created, and Kadisha therefore cannot rely on them.
         z7

         zs


                                                          SFATEMF.NT OF DECISION                              - ^--- - -^

                                                                            117'
                                                          ....t^.r•t .ti•




                                                          ^^^^ _. ^ S^ .---.__.._..._._..
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                             ^ ^_^




                              l^                        ^              ^ ^_^

          1           Kadisha also testified that he was forced to make such a risky investment to meet the
          2
               terms of the Trusts,^which required him to make $20,000 monthly distributions to Dafna. As
          3
               previously Hated, the Court is disregarding Kadisha's testimony. As well , Kadisha was regularly
          a
               consulted throughout the preparation of Trust 2 , and he expressly agreed to be bound by its
          S

          6    terms. if he thought that the Yeast's assets were not substantial enough to generate monthly

          7    $20,000 distributions .through conservative investments , why did he agreed to be bound by the
          8
               requuement that the mist estate be conservatively invested , 'tivith primary consideration being,
          9
               given to preserving principal . Kadisha did not offer any credible evidence tharin i}ecember
         In

         kl
               1988 when the loan was made, the trust' s assets were too tursubstaettiai to make the required

         IZ    distributions to Dafna with conservative investments. .

         I3
                      Having determined alI of the above, the Couei is unable to find Petitioner 's claim for
         14
               damages in the sum of $ 19,202,211 as being'IY^ist 2's proportionate share of Kadisha's
         is
               Qualcomm stock transactions, plus prejudgment in#erest from September 20.2000. The method
         16

         t7    of calculation is unsupportable proof of damages . What the Petitioners would do is talcs the

         Is    percentage $300,000 was at the time of the loan to the Total cash investments of Kadisha and
         !9
               determine this to be 22, 86%. This percentage was taken by adding Kadisha's Qualcomm stock
         2fl
               investments as $662,000, $250,000, $ 100,000 and the $300,000 for a total of $1,312,000. The
         2t
               $300,000 is 22, 869'a of the $4,312,000. But while practically everything Kadisha did in his so-

               called management of the Trusts was^dane by embezzlement of bust money for leis own interests

  F            and without regard tv any of his obligations as trustee Otis gain in loaning the $300,000 has not
         2S
               been shown by Petitioners, even by the use of power-point boards, which Yossi Vardi, a tech
         26
               investor and distinguished prankster from ^sraeI remarked: "Power Point presentations damage
         27

         28



                                                    STATEMENT t)F bECLS10N

                                                                na
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                                                                                  4
                              -t ,                                                    ^.JJJ




               your brain . if you look at too many , you became immoral." The court did not loop at toa many
          2
               but enough to discount Petitioner 's theory of damages by the formula above described.
          3
                      The court is not denying that Kadisha benefited Qualcomm in some degree by the
          4

               S3(?O,OOQ bats but it was ltardiy the economic lifeline the Petitioners would have it. And
          s
          6    Kadisha probably tenef ted himself in the eyes of Qdalcomrrl ' s Hoard of Directors by showing

               his dedication and financial acumen in attaining the $3W,000 for Qualcorrun. And obviously in
          a
               some hardly calculable measure increased the value of his Qualcolnm stock. But saying the
          9
               foregoing does not equate to proof of damages suffered by Trust 2 in Kadisha 's malcirsg of the
         yp
         t^^   subject $30(},00(? loan.

         i2            Petitioner' s claim far damages against Kadisha for his loaning $3t](},00(} of'IYust 2's

         f3
               money acquired by Kadisha in the making of the Namco taan is denied.
         to

         is
                              Damages: Re the Fprahnilc loan, funding by Trust 2, snd Aoquisitian by
         16

         t^                   xadisha.
         is            Because Kadisha used a portion of Ilse Namco l..aan proceeds (the property of Trust 2) to
         !9
               wipe out his obiigation to Union Bank, thez^e was clearly substitute funding of X112,302 of the
         20
               Farahnik loans by the use of Trust 2's money. Kadisha, by his actions and conduct , had to latow
         zi
               that what be was doing with Trust 2's money was wrongful . He: abstained from making any note
         zz
         23    to trust 2 concurrent wins his taking of the Narnco Loan proceeds. He-never had a note signed b^

         24    Farahnik to Trust 2 concurrent with Kadisha paying off Union Bank with Trust 2 's money. He
         zs
               gave six different, incorrect explanations for what he did with the Narnco Loan proceeds prior to
         2s
               trial to prevent Petitioners from discovering that he had used a portion of the proceeds to pay off
         z^
               his Uniars Sank tine of credit for funds he had borrowed to Ioan to Farahnik.
         26



                                                            STATEMENT' OF DEC1S1pN                                   ^

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                                             x, :   ' y.                      {
